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                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES -- GENERAL

Case No.      SA CV 19-1257-JFW(PJWx)                                      Date: September 12, 2019

Title:        Bryce Abbink -v- Experian Information Solutions, Inc., et al.

PRESENT:
             HONORABLE JOHN F. WALTER, UNITED STATES DISTRICT JUDGE

              Shannon Reilly                                  None Present
              Courtroom Deputy                                Court Reporter


ATTORNEYS PRESENT FOR PLAINTIFFS:                    ATTORNEYS PRESENT FOR DEFENDANTS:
              None                                                 None

PROCEEDINGS (IN CHAMBERS):                ORDER GRANTING MOTION FOR ALTERNATIVE
                                          SERVICE UPON LEND TECH LOANS, INC. [filed
                                          8/19/19; Docket No. 31]; and

                                          ORDER GRANTING MOTION FOR ALTERNATIVE
                                          SERVICE UPON UNIFIED DOCUMENT SERVICES, LLC
                                          [filed 8/19/19; Docket No. 32]

       On August 19, 2019, Plaintiff Bryce Abbink (“Plaintiff”) filed a Motion for Alternative Service
Upon Lend Tech Loans, Inc. and a Motion for Alternative Service Upon Unified Document
Services, LLC. No Oppositions were filed. Pursuant to Rule 78 of the Federal Rules of Civil
Procedure and Local Rule 7-15, the Court finds that this matter is appropriate for decision without
oral argument. The hearing calendared for September 16, 2019 is hereby vacated and the matter
taken off calendar. After considering the moving papers, and the arguments therein, the Court
rules as follows:

       The Court GRANTS Plaintiff’s unopposed Motion for Alternative Service Upon Lend Tech
Loans, Inc. and Plaintiff’s unopposed Motion for Alternative Service Upon Unified Document
Services, LLC. The Court signs the proposed Order Granting Plaintiff’s Motion for Alternative
Service Upon Lend Tech Loans, Inc. and the proposed Order Granting Plaintiff’s Motion for
Alternative Service Upon United Document Services, LLC.

         IT IS SO ORDERED.




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